8:12-cr-00282-BCB-MDN          Doc # 612     Filed: 02/14/17    Page 1 of 2 - Page ID # 1663




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )              CASE NO. 8:12CR282
                                                )
               Plaintiff,                       )
                                                )                MEMORANDUM
               vs.                              )                 AND ORDER
                                                )
ROSALINA GONZALEZ,                              )
                                                )
               Defendant.                       )

       This matter is before the Court on the Notice of Appeal, ECF No. 609, submitted by

the Defendant, Rosalina Gonzalez (“Gonzalez”), and the Clerk's memorandum regarding

in forma pauperis status, ECF No. 610 . A motion for a certificate of appealability was not

filed. Gonzalez appeals from the Order, ECF No. 607, denying her Motion Under 28

U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody

(“§ 2255 motion"), ECF No. 606. The Notice of Appeal will be also considered as a request

for a certificate for appealability.

       Before Gonzalez may appeal the denial of her § 2255 motion, a “Certificate of

Appealability” must issue. Pursuant to the Antiterrorism and Effective Death Penalty Act

of 1996, Pub. L. No. 104-132, 110 Stat. 1214 (“AEDPA”), the right to appeal the denial of

a § 2255 motion is governed by the certificate of appealability requirements of 28 U.S.C.

§ 2253(c). 28 U.S.C. § 2253(c)(2) provides that a certificate of appealability may issue only

if the applicant has made a substantial showing of the denial of a constitutional right:

       (c)(1) Unless a circuit justice or judge issues a certificate of appealability, an
       appeal may not be taken to the court of appeals from–
                                               ....

               (B) the final order in a proceeding under section 2255.
8:12-cr-00282-BCB-MDN        Doc # 612     Filed: 02/14/17    Page 2 of 2 - Page ID # 1664




       (2) A certificate of appealability may issue under paragraph (1) only if the
       applicant has made a substantial showing of the denial of a constitutional
       right.

       (3) The certificate of appealability under paragraph (1) shall indicate which
       specific issue or issues satisfy the showing required by paragraph (2).

28 U.S.C. § 2253(c).

       A “substantial showing of the denial of a constitutional right” requires a

demonstration “that reasonable jurists could debate whether (or, for that matter, agree that)

the petition should have been resolved in a different manner or that the issues presented

were ‘”adequate to deserve encouragement to proceed further.”’“ Slack v. McDaniel, 529

U.S. 473, 484 (2000) (quoting Barefoot v. Estelle, 463 U.S. 880, 893 & n.4 (1983)).

       The issues raised in the § 2255 motion were carefully considered. For the reasons

set forth in the Court’s previously issued Memorandum and Order, ECF No. 610, denying

the § 2255 motion, the Court concludes that Gonzalez has not made a substantial showing

of the denial of a constitutional right as required by 28 U.S.C. § 2253(c).

       Accordingly,

       IT IS ORDERED:

       1.     The Defendant's request for a certificate of appealability is denied;

       2.     The Defendant is not allowed to proceed in forma pauperis; and

       3.     The Clerk is directed to mail a copy of this Order to the Defendant at her last

              known address.

       DATED this 14th day of February, 2017.

                                          BY THE COURT

                                          s/Laurie Smith Camp
                                          Chief United States District Judge

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